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            Via ECF
            Judge Regina M. Rodriguez
            Alfred A. Arraj United States Courthouse, Room A105
            901 19th Street
            Denver, CO 80294-3589


            December 9, 2021


            Re: Civil Action No. 1:20-cv-03170-RMR-NRN, ECF No. 76


            Dear Judge Rodriguez,
                        I am writing on behalf of the Plaintiff in this action to inquire on the status of the Motion for
            Default Judgment [Doc. #76] that was filed on May 13, 2021.


            Respectfully,
            /s/Kerry S. Culpepper
            Kerry S. Culpepper
            kculpepper@culpepperip.com
